                                                                                 Case 3:21-cv-00268-MMD-WGC Document 30 Filed 07/01/21 Page 1 of 2


                                                                            MARK B. JACKSON
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                                                                       6    Attorneys for Defendants
                                                                            Mark Jackson, District Attorney of Douglas County, Nevada, and
                                                                       7    Daniel Coverley, Sheriff of Douglas County, Nevada
                                                                       8

                                                                       9                                       UNITED STATES DISTRICT COURT

                                                                       10                                            DISTRICT OF NEVADA

                                                                       11
                                                                                                                                        Case No.: 3:21-cv-00268-MMD-WGC
                                                                       12
Douglas County District Attorney




                                                                       13   ROGER PALMER, et al.,
                                   (775) 782-9803 Fax (775) 783-6490




                                                                                                                                         STIPULATION TO EXTEND TIME
                                         Minden, Nevada 89423




                                                                       14                                                                    TO FILE RESPONSE TO
                                          Post Office Box 218




                                                                                                       Plaintiffs,
                                                                            v.                                                                    COMPLAINT
                                                                       15                                                                      [FIRST REQUEST]
                                                                       16   STEPHEN SISOLAK, in his official capacity as
                                                                            Governor of Nevada, et al.,
                                                                       17
                                                                                                  Defendants.
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                                                                       20           Defendants, Mark B. Jackson, Douglas County District Attorney, and Daniel Coverley, Douglas
                                                                       21   County Sheriff, (collectively the “Douglas County Defendants”) and Plaintiffs, Roger Palmer, et. al.
                                                                       22   (collectively “Plaintiffs”), by and through their undersigned attorneys of record, hereby stipulate to
                                                                       23   extend the time for the Douglas County Defendants to file their response to Plaintiffs’ complaint to the
                                                                       24   date 14 days after this Court issues a final order on Plaintiffs’ pending Motion for Preliminary
                                                                       25   Injunction (Doc. No. 6).
                                                                       26           This is the first stipulation between the Douglas County Defendants and Plaintiffs to extend the
                                                                       27   time to file a response to Plaintiffs’ complaint. The Douglas County Defendants were personally served
                                                                       28   with Plaintiffs’ complaint on June 16, 2021. The parties are currently discussing a possible voluntary

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                                                                       1    dismissal of the Douglas County Defendants from this litigation, subject to certain terms or conditions,

                                                                       2    and resolution of the preliminary injunction proceedings may bear on the discussions.

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                                                                              Dated this 1st day of July, 2021                     Dated this 1st day of July, 2021
                                                                       5
                                                                              MARK B. JACKSON, Douglas County District             THE O’MARA LAW FIRM, P.C.
                                                                       6      Attorney

                                                                       7      By: ___/s/_______________________________            By: _____/s/___________________________
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                                                                       12
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Douglas County District Attorney




                                                                                                                                   Attorneys for Plaintiffs
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                                                                              Daniel Coverley, Sheriff of Douglas County,          Roger Palmer, et. al.
                                         Minden, Nevada 89423




                                                                       14     Nevada
                                          Post Office Box 218




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                                                                       17                                                  ORDER
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                                                                       19          IT IS SO ORDERED
                                                                       20          DATED this 1st day of July, 2021.
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                                                                                                                             U.S. MAGISTRATE JUDGE
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